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             EXHIBIT I
          Mesiti Declaration
  Infringing Product Images Type 2
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                            Front View
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                           Back View
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                            First Side
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                           Second Side
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                              Top
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                             Bottom
